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  16-110/nsm/jsg
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.:


  BYRON L. HARRIS, JR.

                 Plaintiff,

  vs.

  CITY OF BOYNTON BEACH,
  MICHAEL BROWN, MATTHEW MEDEIROS,
  STEPHEN MAIORINO, RONALD RYAN,
  JUSTIN HARRIS, CORY HERNY,
  ALFRED MARTINEZ, and
  Other unknown officers,

              Defendants.
  ______________________________/

                                      NOTICE OF REMOVAL

         Defendant, CITY OF BOYNTON BEACH (hereinafter “City”), a Florida municipal

  corporation, by and through its undersigned counsel, and pursuant to 28 U.S.C. §§1331, 1441(a),

  and 1446(b)(3), hereby provides this Notice of the Removal of the above captioned action from

  the Fifteenth Judicial Circuit Court for Palm Beach County to the United States District Court for

  the Southern District of Florida and states as follows:

         1.      Plaintiff, BYRON L. HARRIS, JR. (hereinafter “Plaintiff”), originally filed his

  Complaint for monetary relief with the State court on December 23, 2015 against City, as well as

  Defendants, MICHAEL BROWN, MATTHEW MEDEIROS, STEPHEN MAIORINO,

  RONALD RYAN, JUSTIN HARRIS, CORY HERNY, and ALFRED MARTINEZ, (hereinafter

  collectively referred to as “Officers”). City was served with the Summons and Complaint on

  January 4, 2016. See Summons on City attached as Exhibit A.



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         3.      Plaintiff’s Complaint attempts to state nineteen (19) counts. As to City, Count I

  alleges “Violation of Civil Rights While Acting Under Color of State Law” under 42 U.S.C.

  §1983, and Count II alleges “State Law Battery.” As to the Officers, individually, Counts III, V,

  VII, IV, XI, XIII, and XV alleges “Unnecessary/Excessive Use of Force” under 42 U.S.C. §§

  1983 and 1988 against each Officer, respectively. Further as to the Officers, individually,

  Counts IV, VI, VIII, X, XII, XIV, and XVI allege “State Law Battery” against each Officer,

  respectively. As to the Officers, collectively, Count XVII alleges “Violation of Civil Rights

  while Acting under Color of State Law for Failure to Intervene Under 42 U.S.C. §1983” and

  Count XIX alleges “Conspiracy.”

         4.      Pursuant to 28 U.S.C. §1331, this Court now has original jurisdiction over this

  action, as Plaintiff’s proposed 42 U.S.C. §1983 civil actions against City and Officers arise under

  the Constitution and laws of the United States. Pursuant to 28 U.S.C. §§1331 and 1441(a), City

  may remove this action to this Court.

         5.      Pursuant to 28 U.S.C. §1146(b)(2), City and all known named Defendant Officers

  consent to this removal.

         6.      Pursuant to 28 U.S.C. §1446(b)(1), this notice of removal is timely. 28 U.S.C.

  §1446(b)(1) states:

         The notice of removal of a civil action or proceeding shall be filed within 30 days
         after the receipt by the defendant, through service or otherwise, of a copy of the
         initial pleading setting forth the claim for relief upon which such action or
         proceeding is based, or within 30 days after the service of summons upon the
         defendant if such initial pleading has then been filed in court and is not required
         to be served on the defendant, whichever period is shorter.

         7.      In accordance with 28 U.S.C. §1446(a), attached hereto as Composite Exhibit B

  are copies of all documents filed with the Circuit Court in and for Palm Beach County, Florida

  for Case No. 50 2015 CA 014268 XXXX MB AJ. See Composite Exhibit B.


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         8.      Concurrent with the filing of this Notice of Removal with this Court, City will

  provide Notice of Removal to the Plaintiff, through the attorney of record in the state Circuit

  Court action, as required by 28 U.S.C. §1446(d), as well as notice to the Clerk of Court in and

  for the Fifteenth Judicial Circuit Court for Palm Beach County, State of Florida.

         9.      This Notice is timely, being filed within thirty (30) days service of Plaintiff’s

  Complaint upon City.

         WHEREFORE, Defendant, CITY OF BOYNTON BEACH, respectfully requests that

  this Honorable Court, pursuant to 28 U.S.C. §1441, grant an Order in favor of City removing this

  action to the United States District Court, Southern District of Florida.

                                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy hereof has been furnished by CM/ECF

  OR e-service to all parties on the attached Counsel List this 28th day of January, 2016.

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  CASE NO.:           50 2015 CA 014268 XXXX MB AJ
  OUR FILE NO.:       16-110

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